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                                                            04/26/2021
                         I hereby attest and certify on _________________
                         that the foregoing document is a full, true and correct
                         copy of the originals on file in my office and in my
                         legal custody..
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